Case 2:22-cv-00606-JLB-KCD Document 1 Filed 09/21/22 Page 1 of 56 PageID 1




                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                             Fort Myers Division


Ashley Leigh, Erik Berg, and
James Griffith,                         Case No.

            Plaintiffs;
      v.

Artis-Naples, Inc.,
                                        Demand for a Jury Trial
            Defendant.


                          VERIFIED COMPLAINT
             for Reinstatement, Declaratory and Injunctive Relief,
                   and Compensatory and Punitive Damages
 Case 2:22-cv-00606-JLB-KCD Document 1 Filed 09/21/22 Page 2 of 56 PageID 2




                                        TABLE OF CONTENTS

NATURE OF THE ACTION ............................................................................... 1
EXHAUSTION OF REMEDIES .......................................................................... 4
THE PARTIES ..................................................................................................... 5
FACTUAL ALLEGATIONS ............................................................................... 6
I.    Plaintiffs’ Religious Objections to the COVID-19 Vaccines. ............................. 6
II.   The COVID-19 Vaccines’ Undisputed Link to Aborted Fetal Cell Lines. ......... 9
III. Artis-Naples’s Unlawful “No-Exemption” Vaccination Mandate. .................. 11
      A.     Artis-Naples’s Initial COVID Policies and Procedures. .......................... 12
      B.     The COVID-19 Employee Vaccination Mandate. .................................. 13
      C.     The Sham Accommodation Process. ..................................................... 15
      D. The Mandate Violates Florida Law and Contradicts Other Regulations. . 18
IV. Artis-Naples’s Refusal to Accommodate Plaintiffs’ Religious Beliefs. ............. 20
V.    Artis-Naples Wrongfully Terminated Plaintiffs. ............................................ 24
VI. Artis-Naples’s Unlawful, Unscientific and Irrational Pretext for its
    Discriminatory Mandate. ............................................................................. 28
      A.     As a Matter of Law, Complying with Florida Law and Public Policy
             Cannot Be an “Undue Hardship” on Artis-Naples. ................................ 29
      B.     Scientific Evidence Shows that Unvaccinated Persons Are Not Vectors
             of Disease Compared with Vaccinated Persons. ..................................... 29
      C.     Artis-Naples Allows Unvaccinated Patrons and Visitors on Premises. .... 33
      D. Artis-Naples Allows Unvaccinated Employees to Interact with
         Vaccinated Employees on Its Premises and at Its Sponsored Events. ...... 34
      E.     The Mandate is An Extreme Outlier in Florida’s Performance Arts
             Industry. .............................................................................................. 37
VII. The Availability of Reasonable Accommodations, and Plaintiffs’ Willingness
     to Comply with Alternative Safety Measures................................................. 39
CLAIMS FOR RELIEF ...................................................................................... 40
PRAYER FOR RELIEF ..................................................................................... 48
DEMAND FOR JURY TRIAL .......................................................................... 49
VERIFICATION ................................................................................................ 51
INDEX OF EXHIBITS ....................................................................................... 54




                                                          ii
 Case 2:22-cv-00606-JLB-KCD Document 1 Filed 09/21/22 Page 3 of 56 PageID 3




 Florida Statute 381.00317 “appears to require employers to accept and approve any
 of the five exemption requests without further consideration beyond completeness
 of the required documentation, and the employer must allow the employee to opt out
 of an employer’s vaccine mandate.” 1
               - QUARLES & BRADY LLP, Artis-Naples’s Legal Counsel

      Plaintiffs Ashley Leigh, Erik Berg, and James Griffith, on knowledge as to their

own actions or otherwise upon information and belief, allege as follows:

                             NATURE OF THE ACTION

      1.     This is an action for religious discrimination under Title VII of the Civil

Rights Act of 1964, 42 U.S.C. § 2000e, et seq., arising from Defendant Artis-Naples’s

unlawful failure to accommodate Plaintiffs’ religious beliefs, and its wrongful

termination of Plaintiffs.

      2.     Defendant Artis-Naples is a nonprofit arts organization that operates the

Naples Philharmonic, an ensemble of professional musicians. Although, as

acknowledged by Artis-Naples’s own counsel (note 1, supra), the State of Florida

expressly requires private-employers to exempt all employees that request religious (and

other) exemptions from COVID-19 vaccination requirements, see Fla. Stat. §

381.00317, Artis-Naples is marching to the beat of its own drum: It is imposing a no-

exemption vaccine mandate on all employees and job applicants in willful and reckless

disregard of state and federal law.


 1
   Alexis Barkis, Quarles & Brady LLP, Florida Legislation Restricting Workplace Vaccine
Mandates—What Florida Employers Need to Know (Nov. 19, 2021),
https://perma.cc/8X28-CE33 (emphasis added) [attached as Exhibit 1].

                                           1
 Case 2:22-cv-00606-JLB-KCD Document 1 Filed 09/21/22 Page 4 of 56 PageID 4




       3.     Plaintiffs are three former Artis-Naples employees and longstanding

musicians for the Naples Philharmonic. Together, Plaintiffs have dedicated 82 years of

their professional careers to serving Artis-Naples and enriching the local community

with their musical talents.

       4.     As committed Christians, Plaintiffs have sincere religious objections to

Artis-Naples’s COVID-19 vaccination mandate, for various religious reasons,

including the undisputed fact that each available vaccine was developed, tested or

otherwise made from or with fetal cell lines from aborted fetuses.

       5.     Consistent with federal and state law, Plaintiffs brought their bona fide

religious objections to Artis-Naples’s attention, and in good faith they requested a

reasonable accommodation to the vaccine mandate. But Artis-Naples refused to

accommodate Plaintiffs’ religious beliefs, refused to follow the clear requirements of

Florida law mandating religious exemptions, and refused to allow Plaintiffs to take the

same alternative precautions that Artis-Naples permitted its patrons to take, when

those patrons attend concerts and share the same space and air as Plaintiffs. Instead,

Artis-Naples retaliated against Plaintiffs and wrongfully terminated them solely

because of their religious objections to its unlawful mandate.

       6.     Artis-Naples’s arbitrary and needless no-exemption vaccination mandate

consequently cost Plaintiffs their jobs, upended their music careers, and inflicted on

them immeasurable pain and suffering, not the least of which is the immense pressure

to sacrifice their conscience to feed their families.



                                             2
 Case 2:22-cv-00606-JLB-KCD Document 1 Filed 09/21/22 Page 5 of 56 PageID 5




       7.     Critically, Plaintiffs have no desire to jeopardize the health and safety of

their coworkers and concert patrons; they merely asked their employer to follow

Florida law and Title VII, and to reasonably accommodate their bona fide religious

beliefs. And to be sure, Plaintiffs were willing to comply with alternative safety

measures such as regular testing, masking, and symptom monitoring. According to the

Florida Department of Health, these measures are medically sufficient—and legally

required—alternatives to forced vaccination.

       8.     Nor can Artis-Naples seriously argue that accommodating Plaintiffs’

religious beliefs would have caused an undue hardship on its operations. As a matter

of law, it is never an undue hardship for an employer to comply with the law and public policy

of a state—here clearly expressed in Fla. Stat. § 381.00317, which requires religious

exemptions to be provided to all who ask. What is more, Artis-Naples allows

unvaccinated guests to fill its concert halls during each performance. If Artis-Naples

were truly concerned about potential “outbreaks” caused by unvaccinated people on

its premises, then it would not accommodate hundreds of concertgoers while

subjecting its employees to second-class treatment. Any undue hardship in this case is

on Plaintiffs, caused by Artis-Naples’s intentional and reckless refusal to follow the

law.

       9.     Artis-Naples’s religiously discriminatory vaccination mandate cannot be

harmonized with Title VII and Florida law. Upon information and belief, no other

Florida performing arts organization imposes such a draconian and illegal “no

exemption” vaccine policy. And because of Artis-Naples’s dogged insistence on
                                              3
 Case 2:22-cv-00606-JLB-KCD Document 1 Filed 09/21/22 Page 6 of 56 PageID 6




enforcing its unlawful mandate, judicial recourse is Plaintiffs’ only way to vindicate

their federal civil rights.

                              JURISDICTION AND VENUE

       10.     This action arises under the laws of the United States, specifically Title

VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e, et seq.

       11.     This Court has jurisdiction over this action under 28 U.S.C. § 1331 and

42 U.S.C. § 2000e-5(f).

       12.     Venue is proper in this Court under 28 U.S.C. § 1391(b)(2) and 42 U.S.C.

§ 2000e-5(f) because a substantial part of the events or omissions giving rise to

Plaintiffs’ claims occurred in this district.

       13.     This Court may grant declaratory relief under 28 U.S.C. §§ 2201 and

2202, and it may grant injunctive relief under Fed. R. Civ. P. 65 and 42 U.S.C. § 2000e-

5(g)(1).

       14.     This Court may grant Plaintiffs’ prayer for damages under Fed. R. Civ. P.

54 and their prayer for costs and expenses, including reasonable attorneys’ fees and

costs, under 42 U.S.C. § 2000e-5(k).

                              EXHAUSTION OF REMEDIES

       15.     Plaintiffs have exhausted their administrative remedies and are entitled

to bring this action. All conditions precedent to filing claims under Title VII and the

Florida Civil Rights Act, Fla. Stat. § 760.11, have been performed or have occurred.

       16.     Plaintiffs each filed a timely charge of discrimination with the Equal

Employment Opportunity Commission (“EEOC”). The EEOC issued Plaintiffs each
                                                4
 Case 2:22-cv-00606-JLB-KCD Document 1 Filed 09/21/22 Page 7 of 56 PageID 7




a Notice of Right to Sue on August 4, 2022, which Plaintiffs received on or about the

same date. This Complaint has been timely filed within 90 days of Plaintiffs’ receiving

their respective Right to Sue letters.

                                     THE PARTIES

1.     The Plaintiff Musicians.

       17.    Plaintiff Ashley Leigh is a professional musician who served as Assistant

Principal and Second Clarinet for the Naples Philharmonic. Prior to her wrongful

termination, Leigh was a tenured employee of Artis-Naples for 17 years, since 2005.

       18.    Plaintiff Erik Berg is a professional musician who was Associate

Principal Second Violin for the Naples Philharmonic. Prior to his wrongful

termination, Berg was a tenured employee of Artis-Naples for 32 years, since 1990.

       19.    Plaintiff James Griffith is a professional musician who played the viola

for the Naples Philharmonic. Prior to his wrongful termination, Griffith was a tenured

employee of Artis-Naples, having started to work there 33 years ago, in 1989.

2.     Defendant Artis-Naples.

       20.    Defendant Artis-Naples, Inc. is a nonprofit organization incorporated

under the laws of the State of Florida and headquartered in Naples, Florida.

       21.    Artis-Naples is an “employer” within the meaning of Title VII because it

has “fifteen or more employees for each working day in each of twenty or more

calendar weeks in the current or preceding calendar year.” 42 U.S.C. § 2000e(b).




                                           5
 Case 2:22-cv-00606-JLB-KCD Document 1 Filed 09/21/22 Page 8 of 56 PageID 8




                            FACTUAL ALLEGATIONS

 I.   Plaintiffs’ Religious Objections to the COVID-19 Vaccines.

      22.     Plaintiffs’ sincerely held religious beliefs prohibit them from receiving

any of the three COVID-19 vaccines that were available as of the time of their

employment and unlawful termination, for various theological and non-negotiable

doctrinal reasons, including, without limitation, the undisputed fact that each available

vaccine was developed, tested, or otherwise made from or with fetal cell lines from

aborted fetuses.

      23.     Plaintiffs’ sincerely held religious beliefs are rooted in the Bible’s

teachings that “[a]ll Scripture is given by inspiration of God, and is profitable for

doctrine, for reproof, for correction, [and] for instruction in righteousness.” 2 Timothy

3:16 (King James). Plaintiffs accordingly believe that they must conform their lives,

including their decisions relating to medical care, to the commands and teaching of

Scripture.

      24.     Plaintiffs have sincerely held religious beliefs that God forms children in

the womb, that each child is made in God’s image and likeness, and that He knows

them before their birth. 2 Plaintiffs thus believe that life is sacred from the moment of

conception.


 2
   See, e.g., Psalm 139:13–14 (“For you formed my inward parts; you knitted me
together in my mother’s womb. I praise you, for I am fearfully and wonderfully
made.”); Psalm 139:16 (“Your eyes saw my unformed substance; in your book were
written, every one of them, the day that were formed for me, when as yet there was
none of them.”); Isaiah 44:2 (King James) (“[T]he Lord that made thee, and formed
thee from the womb….); Isaiah 49:1 (King James) (“The Lord hath called my from the
                                            6
 Case 2:22-cv-00606-JLB-KCD Document 1 Filed 09/21/22 Page 9 of 56 PageID 9




      25.    Because they sincerely believe that life is sacred from the moment of

conception, Plaintiffs also believe that killing an unborn child through abortion is

murder, in violation of Scripture. 3

      26.    Plaintiffs thus have sincerely held religious beliefs, rooted in Scripture,

that any action or thing that condones, supports, justifies, or benefits from taking

innocent human life through abortion is sinful, contrary to the Scriptures, and

therefore must be denounced, condemned, and altogether avoided.

      27.    Plaintiffs accordingly have sincerely held religious beliefs, rooted in

Scripture, that they would offend God if they knowingly used a product derived from

or connected in any way with abortion.

      28.    Relatedly, Scripture instructs Plaintiffs that their bodies are temples of

the Holy Spirit. 4 As such, Plaintiffs sincerely believe that to inject medical products

that are connected in any way to aborted fetal cell lines would defile their bodies.


womb; from the bowels of my mother hath he made mention of my name.”); Isaiah
49:5 (“the Lord that formed me from the womb to be his servant”); Jeremiah 1:5 (King
James) (“Before I formed thee in the belly I knew thee; and before thou camest forth
out of the womb I sanctified thee, and I ordained thee.”); Genesis 1:26–27 (King James)
(“Let us make man in our image, after our likeness … So God created man in his own
image; in the image of God created he him; male and female created he them.”).
 3
   See, e.g., Exodus 20:13 (King James) (“Thou shalt not kill.”); Exodus 21:22–23 (setting
the penalty as death for even the accidental killing of an unborn child); Exodus 23:7
(King James) (“[T]he innocent and righteous slay thou not, for I will not justify the
wicked.”); Genesis 9:6 (King James) (“Whoso sheddeth a man’s blood, by man shall
his blood by shed: for in the image of God made he man.”); Proverbs 6:16–17 (King
James) (“These six things doth the Lord hate: yea, seven are an abomination to him …
hands that shed innocent blood.”).
 4
  See 1 Corinthians 6:15–20 (King James) (“Know ye not that your bodies are the
members of Christ?.... Know ye not that your body is the temple of the Holy Ghost
                                            7
Case 2:22-cv-00606-JLB-KCD Document 1 Filed 09/21/22 Page 10 of 56 PageID 10




      29.    Scripture also instructs Plaintiffs that the Holy Spirit was given to them

by God to reprove them of righteousness and sin and to guide them into all truth. 5

Plaintiffs thus believe that the Holy Spirit—through prayer and the revelation of

Scripture—guides them in all decisions they make in life. 6 Plaintiffs accordingly believe

that they will receive all answers to their questions through prayer, including for

decisions governing their medical health. 7

      30.    Through much prayer and reflection, Plaintiffs have sought wisdom,

understanding, and guidance on the proper decision to make concerning the COVID-

19 vaccines. Plaintiffs sincerely believe that the Holy Spirit has counseled them that


which is in you, which have of God, and ye are not your own? For ye are bought with
a price: therefore glorify God in your body, and in your spirit, which are God’s.”).
 5
   See John 16:8, 13 (King James) (“And when he is come, he will reprove the world of
sin, and of righteousness, and of judgment … when he, the Spirit of truth, is come, he
will guide you into all truth: for he shall not speak of himself; but whatsoever he shall
hear, that shall he speak: and he will shew you things to come.”).
 6
    See, e.g., John 16:7 (King James) (“Nevertheless I tell you the truth, it is expedient
for you that I go away: for if I go not away, the Comforter will not come unto you; but
if I depart, I will send him unto you.”); John 14:26 (King James) (“But the Comforter,
which is the Holy Ghost, whom the Father will send in my name, he shall teach you
all things, and bring all things to your remembrance, whatsoever I have said unto
you.”).
 7
   See, e.g., James 1:5 (King James) (“If any of you lack wisdom, let him ask of God,
that giveth to all men liberally, and upbraideth not; and it shall be given him.”); Mark
11:24 (King James) (“Therefore I say unto you, What things soever ye desire, when ye
pray, believe that ye receive them, and ye shall have them.”); Philippians 4:6–7 (King
James) (“[B]ut in everything by prayer and supplication with thanksgiving let your
request be made known to God. And the peace of God, which passeth all
understanding, shall keep your hearts and minds through Christ Jesus.”); 1 John 4:14–
15 (King James) (“And this is the confidence we have in him, that, if we ask anything
according to his will, he heareth us. And if we know that he hear us, whatsoever we
ask, we know that we have the petitions that we desired of him.”).

                                              8
Case 2:22-cv-00606-JLB-KCD Document 1 Filed 09/21/22 Page 11 of 56 PageID 11




accepting any of the three vaccines available prior to their termination is contrary to

Scripture and objectively sinful. Plaintiffs therefore sincerely believe that the Holy

Spirit has instructed them not to accept a COVID-19 vaccine, and that it would be a

sin against God to do so.

      31.    As further alleged below, Plaintiffs shared their bona fide religious beliefs,

including their sincerely held religious objections to the COVID-19 vaccines, with

Artis-Naples. And consistent with both Title VII and Florida law, Plaintiffs asked

Artis-Naples for a reasonable accommodation and exemption from its employee

vaccination mandate. But Artis-Naples refused Plaintiffs’ request.

II.   The COVID-19 Vaccines’ Undisputed Link to Aborted Fetal Cell Lines.

      32.    Prior to Plaintiffs’ termination, in response to the spread of the novel

coronavirus SARS-CoV-2, which causes the disease COVID-19, the Food and Drug

Administration (“FDA”) authorized or approved the use of three vaccines.

      33.    On December 1, 2020, the FDA issued an Emergency Use Authorization

(“EUA”) for the Pfizer-BioNTech vaccine. One week later, the FDA issued a EUA for

the Moderna COVID-19 vaccine. The FDA issued an EUA for the Johnson & Johnson

COVID-19 vaccine on February 27, 2021.

      34.    Plaintiffs have sincerely held religious objections to the Johnson &

Johnson (Janssen Pharmaceuticals) vaccine because it used aborted fetal cells lines to

produce and manufacture the vaccines.

      35.    As reported by the North Dakota Department of Health, “[t]he non-

replicating viral vector vaccine produced by Johnson & Johnson did require the use of

                                            9
Case 2:22-cv-00606-JLB-KCD Document 1 Filed 09/21/22 Page 12 of 56 PageID 12




fetal cell cultures, specifically PER.C6, in order to produce and manufacture the

vaccine.” 8

       36.    The Louisiana Department of Health likewise confirms that the Johnson

& Johnson COVID-19 vaccine, which used PER.C6 fetal cell line, “is a retinal cell line

that was isolated from a terminated fetus in 1985.” 9

       37.    Scientists at the American Association for the Advancement of Science

have likewise published research showing that the Johnson & Johnson vaccine used

aborted fetal cell lines in the development and production phases of the vaccine. 10

       38.    Plaintiffs also have sincerely held religious objections to the Moderna and

Pfizer/BioNTech COVID-19 vaccines because both have their origins in research on

aborted fetal cells lines.

       39.    As reported by the North Dakota Department of Health, the Moderna

and Pfizer mRNA vaccines are ultimately derived from research and testing on aborted

fetal cell lines. In fact, “[e]arly in the development of mRNA vaccine technology, fetal

cells were used for ‘proof of concept’ (to demonstrate how a cell could take up mRNA




 8
   See North Dakota Health, COVID-19 Vaccines & Fetal Cell Lines 2 (Dec. 1, 2021),
https://www.health.nd.gov/sites/www/files/documents/COVID%20Vaccine%20P
age/COVID-19_Vaccine_Fetal_Cell_Handout.pdf.
 9
   Louisiana Dept. of Public Health, You Have Questions, We Have Answers: COVID-19
Vaccine FAQ 2 (Dec. 21, 2020), https://ldh.la.gov/assets/oph/Center-PHCH/Center-
PH/immunizations/You_Have_Qs_COVID-19_Vaccine_FAQ.pdf.
 10
    Meredith Wadman, Vaccines That Use Human Fetal Cells Draw Fire, 368 Science
Mag.                                1170                                (2020),
https://www.science.org/doi/epdf/10.1126/science.368.6496.1170.

                                           10
Case 2:22-cv-00606-JLB-KCD Document 1 Filed 09/21/22 Page 13 of 56 PageID 13




and produce the SARS-CoV-2 spike protein) or to characterize the SARS-CoV-2 spike

protein.” 11

         40.    The Louisiana Department of Health also confirms that aborted fetal

cells lines were used in the “proof of concept” phase of the development of their

COVID-19 mRNA vaccines. 12

         41.    Because all three of the COVID-19 vaccines that were available to

Plaintiffs prior to their termination were developed and produced from, tested with,

researched on, or otherwise connected with the aborted fetal cell lines HEK-293 and

PER.C6, Plaintiffs’ sincerely held religious beliefs compelled them to abstain from

obtaining or injecting any of these products into their body, regardless of the perceived

benefit or rationale.

III.     Artis-Naples’s Unlawful “No-Exemption” Vaccination Mandate.

         42.    Artis-Naples bills itself as “Southwest Florida’s home for the visual and

performing arts.” 13 Operating out of the Kimberly K. Querrey and Louis A. Simpson

Cultural Campus, Artis-Naples is home to The Baker Museum, a fine arts museum,

and the Naples Philharmonic, a professional musical ensemble.

         43.    The Naples Philharmonic employs both salaried and per-service

musicians. Each year the ensemble performs over 100 orchestral and chamber

concerts, as well as opera and ballet, education, community and special event concerts.


  11
       North Dakota Health, supra note 8.
  12
       Louisiana Dept. of Public Health, supra note 9.
  13
       About Artis-Naples, Artis-Naples, https://artisnaples.org/about/.

                                             11
Case 2:22-cv-00606-JLB-KCD Document 1 Filed 09/21/22 Page 14 of 56 PageID 14




       44.     Artis-Naples has two performance venues, the massive Frances Pew

Hayes Hall and the smaller Myra J. Daniels Pavilion. Hayes Hall offers just over 1,470

seats, while Daniels Pavilion is a black-box theatre with just under 300 seats.




 Artis-Naples's 1,400-person Hayes Hall, which is outfitted with state-of-the art air filtration systems.



       A.      Artis-Naples’s Initial COVID Policies and Procedures.

       45.     In March 2020, in response to the worldwide spread of the novel

coronavirus SARS-CoV-2, Artis-Naples suspended the Naples Philharmonic’s

remaining performances for the 2019-2020 season.

       46.     Artis-Naples restarted its performance offerings in September 2020 after

adopting and implementing various COVID-19 policies and protocols, including

weekly testing and masking for musicians, socially-distanced performances, and

placing filtrating fans on stage.

       47.     During this time, Artis-Naples also made “a variety of safety upgrades”

to “improve the safety of [its] patrons, musicians, guest artists, staff members and

volunteers.” These facility “upgrades” include “the installation of a needlepoint

bipolar ionization (NPBI) system on 29 HVAC air handling units, use of air-assisted



                                                  12
Case 2:22-cv-00606-JLB-KCD Document 1 Filed 09/21/22 Page 15 of 56 PageID 15




machines to sanitize event spaces between performances,” and “changing more than

70 faucets on the cultural campus to touch-free units.” 14

        48.     Artis-Naples also implemented “high cleanliness standards,” by

“regularly” cleaning and disinfecting “restrooms and surfaces such as counters,

railings, door handles, elevator buttons and chairs.” It also began offering “[s]anitizing

stations” at “all entry points after scanning in and throughout the cultural campus.”

        49.     Artis-Naples claimed that its “safety policies and protocols” were

“dynamic” and thus it would continue to review them “in light of evolving federal,

state and local government and department of health guidelines.” 15

        50.     With these kinds of protocols in place, the Naples Philharmonic,

comprised of both vaccinated and unvaccinated musicians, successfully delivered a full

slate of concerts during the 2020-2021 season.

        B.      The COVID-19 Employee Vaccination Mandate.

        51.     In July 2021, Artis-Naples’s Chief Executive Officer Katherine van

Bergen announced a COVID-19 vaccination requirement (the “Mandate”) for Artis-

Naples employees, including all Naples Philharmonic salaried and per-service

musicians. 16




  COVID-19 Protocols & Policies, Artis-Naples [hereafter “Artis-Naples 2021-2022
 14

COVID Protocols”], https://perma.cc/UY7A-5MHD (Apr. 13, 2022).
 15
      Artis-Naples 2021-2022 COVID Protocols, supra note 14.
 16
   Memorandum, Artis-Naples, Musicians COVID-19 Vaccination Requirement and
Accommodation Process [hereafter “Mandate”] (2021) [attached as Exhibit 2].

                                           13
Case 2:22-cv-00606-JLB-KCD Document 1 Filed 09/21/22 Page 16 of 56 PageID 16




        52.    The Mandate required Artis-Naples staff members, Naples Philharmonic

core musicians, and per-service musicians to be fully vaccinated and provide written

proof to Artis-Naples by September 7, 2021.

        53.    Upon information and belief, Artis-Naples had never before required its

employees to be vaccinated against any disease or illness.

        54.    The Mandate also extends to job applicants. For example, a job posting

for an Assistant Conductor position stated: “Proof of COVID-19 vaccination required

for employment with Artis—Naples.” 17 Similarly, Artis-Naples posted an

advertisement in Spring 2022 for an orchestra position that stated “Proof of COVID-

19 vaccination required for employment.” 18 And as of August 5, 2022, Artis-Naples is

advertising an Associate Principal Second Violin position that states that “Proof of

COVID-19 vaccination is required to be a qualified applicant.” 19

        55.    The Mandate further applies to volunteers. According to Artis-Naples,

an interested person can “qualify” to be volunteer only if they “are fully vaccinated

against COVID-19.” 20



 17
    Artis-Naples, Career Listings, Assistant Conductor, https://perma.cc/DQ45-
4267.
 18
            Flyer,       Artis-Naples,         Section      Violin             (2022),
https://artisnaples.org/uploads/files/resources/documents/naples-
philharmonic/2022/SectionViolinAudition.pdf.
 19
       Flyer, Artis-Naples, Associate Principal Second Violin                  (2022),
https://artisnaples.org/uploads/files/resources/documents/naples-
philharmonic/2022/Violin.pdf.
 20
      Volunteers, Artis-Naples, https://artisnaples.org/support/volunteer.

                                            14
Case 2:22-cv-00606-JLB-KCD Document 1 Filed 09/21/22 Page 17 of 56 PageID 17




        56.    As shown below, however, the Mandate does not apply to patrons of, and

visitors to, Artis-Naples.

        C.     The Sham Accommodation Process.

        57.    When it initially announced the Mandate, Artis-Naples purported to

offer employees needing a medical or religious exemption the option to “seek a

reasonable accommodation.” 21

        58.    To that end, Artis-Naples established an “Accommodation Review

Committee” (the “Committee”). The initial three-person committee comprised of

James Dallas, the orchestra personnel manager; Danielle Daly, Artis-Naples’s Human

Resources Director; and Beth Schick, Artis-Naples’s Chief Administrative Officer.

        59.    To obtain an “accommodation” from the Mandate, Naples Philharmonic

musicians were required to complete a “Request for Accommodation Form” and

submit it to James Dallas, the orchestra personnel manager, by September 1, 2021. 22

        60.    As part of the review process, the Committee would purportedly consider

the nature and scope of granting each individual accommodation. For example, the

Committee was supposed to “consider the Musician’s role and the requirements of

that position as well as whether the accommodation will pose an undue hardship on

Artis-Naples or a direct threat to the health and safety of others.” 23



 21
      Mandate, supra note 16; Ex. 2.
 22
    See Form, Artis-Naples, COVID-19 Vaccination Religious Accommodation
Request (2021) [attached as Exhibit 3].
 23
      Mandate, supra note 16; Ex. 2.

                                            15
Case 2:22-cv-00606-JLB-KCD Document 1 Filed 09/21/22 Page 18 of 56 PageID 18




      61.    Once a decision was purportedly made, the Committee was supposed to

notify the musician in writing whether further discussion or information was needed

or if the requested accommodation had been granted or denied.

      62.    If a request was denied, the Committee was supposed to communicate

any available alternative accommodation. If additional information or requirements

were needed, the Committee was supposed to state so in writing and allow a

reasonable amount of time for a written response. This supposedly “interactive

process” was to continue until the Committee had either granted or denied the

requested accommodation. The final decision was supposed to be presented to the

applicant in writing.

      63.    Upon information and belief, over ten Artis-Naples employees initially

submitted applications for a religious or medical exemption to the Mandate.

      64.    Upon information and belief, in September 2021, the Committee

reviewed and granted every exemption request.

      65.    The religious exemption requests granted by the Committee included

Plaintiffs, two other musicians, a security guard, and front desk personnel.

      66.    However, none of the employees, including Plaintiffs, received any

accommodation. That is because Artis-Naples implemented an illegal policy that no

exemption or accommodation would or could be granted to any employee who had to

be present onsite to perform their job.

      67.    To further this illegitimate end, and unsatisfied with the work and results

of the Committee, Artis-Naples then appointed two new members to the Committee:
                                          16
Case 2:22-cv-00606-JLB-KCD Document 1 Filed 09/21/22 Page 19 of 56 PageID 19




David Filner, the Executive Vice President of Artistic Operations, and musician Paul

Votapek. The purpose of these new appointments was to ensure that no employee

whose presence was needed in any facility of Artis-Naples would receive an exemption

to the Mandate, irrespective of that employee’s job title, function or role.

      68.    Voiding the determinations already made by the original three-person

committee, the new Committee led by Filner issued blanket, rubber-stamped denials

of each previously approved applicant, along with a dozen new applications.

      69.    Upon information and belief, over 20 Artis-Naples employees sought

religious and medical exemptions to the Mandate, and all but one were denied.

      70.    Thus, Plaintiffs’ applications, which were initially approved, were

arbitrarily denied without individualized consideration.

      71.    Upon information and belief, the only Artis-Naples employee to receive

an exemption to the Mandate was James Dallas, the orchestra’s personnel manager.

Dallas sought a medical exemption and recused himself from the review process. The

Committee granted his request for a medical exemption but only on the condition that

he work remotely. Dallas agreed with the condition and worked remotely until his

resignation in October 2021.

      72.    Upon information and belief, Dallas resigned from Artis-Naples—where

he worked for 38 years—out of protest against the Mandate, and the resulting

discrimination against his fellow employees.

      73.    Artis-Naples’s    rubber-stamp,     blanket    denial   of    all   religious

accommodation requests not only shows that it failed to consider each employee’s
                                           17
Case 2:22-cv-00606-JLB-KCD Document 1 Filed 09/21/22 Page 20 of 56 PageID 20




request on a case-by-case basis as required by federal law; it shows that Artis-Naples

utterly disregarded its employees’ bona fide religious objections to the Mandate.

         D.     The Mandate Violates Florida Law and Contradicts Other
                Regulations.

         74.    In its Employee Handbook, Artis-Naples claims that it “seek[s] to comply

with all applicable federal, state and local laws related to discrimination.” 24 Yet Artis-

Naples is knowingly and willfully violating Florida law requiring religious exemptions

to be freely given to all who ask, and implementing and enforcing religiously

discriminatory policies and practices in reckless disregard of state and federal law.

         75.    The Mandate expressly violates Florida law. Enacted in November 2021,

Section 381.00317 of the Florida Statutes prohibits private employers from imposing

a COVID-19 vaccination mandate on employees without providing individual

exemptions, including religious exemptions, to all who request them. 25

         76.    In blatant disregard of Florida law, Artis-Naples provides no medical or

religious exemptions for its employees, nor does it provide testing alternatives. Artis-




 24
   Artis-Naples,           Employee        Handbook         22                        (2021),
http://artisnaplesbenefits.org/media/29251376/handbook-42221.pdf.
 25
      In relevant part, the statute provides:
         A private employer may not impose a COVID-19 vaccination mandate
         for any full-time, part-time, or contract employee without providing
         individual exemptions that allow an employee to opt out of such requirement on
         the basis of medical reasons, including, but not limited to, pregnancy or
         anticipated pregnancy; religious reasons; COVID-19 immunity; periodic
         testing; and the use of employer-provided personal protective equipment.
 Fla. Stat. § 381.00317 (2021) (emphasis added).

                                                18
Case 2:22-cv-00606-JLB-KCD Document 1 Filed 09/21/22 Page 21 of 56 PageID 21




Naples’s general policy and practice is that all employees must be fully vaccinated,

without exception or exemption.

        77.    According to a November 2021 article by the law firm Quarles & Brady,

which has been counsel for Artis-Naples in pre-suit dealings and communications and

is expected to represent it in this lawsuit, Section 381.00317 “appears to require

employers to accept and approve any of the five exemption requests without further

consideration beyond completeness of the required documentation, and the employer must

allow the employee to opt out of an employer’s vaccine mandate.” 26

        78.    Quarles & Brady thus cautioned that employers like its own client Artis-

Naples “need to comply with Florida’s new law regarding vaccine mandates and

exemptions” and that these employers “should immediately review their current

vaccine mandate policies to ensure compliance with the new Florida legislation.” 27

        79.    Upon information and belief, Artis-Naples failed to review its Mandate

“to ensure compliance” with Section 381.00317. Moreover, Artis-Naples failed to

grant exemptions to Plaintiffs, and to allow them to opt out, despite its own counsel’s

admission and advice that such exemptions were required by Florida law.

        80.    The Mandate also contrasts with and flouts the Federal Government’s

rule requiring certain large employers to mandate vaccination or periodic testing for their

employees. See 86 Fed. Reg. 61402 (2021) (stayed by Nat’l Fed’n of Indep. Bus. v. Dep’t



 26
      Barkis, supra note 1 (emphasis added); Ex. 1.
 27
      Barkis, supra note 1; Ex. 1.

                                            19
Case 2:22-cv-00606-JLB-KCD Document 1 Filed 09/21/22 Page 22 of 56 PageID 22




of Lab., Occupational Safety & Health Admin., 142 S. Ct. 661 (2022)). The rule plainly

recognized that employees are legally entitled to a reasonable accommodation under

federal civil rights laws if they have sincerely held religious beliefs, practices, or

observances that conflict with the vaccination requirement.

       81.    The Mandate also differs substantially from the European Union’s digital

COVID-19 certificate, which considers as equivalent “that a person has either [1] been

vaccinated against COVID-19 [2] received a negative test result or [3] recovered from

COVID-19.” 28

IV.    Artis-Naples’s Refusal to Accommodate Plaintiffs’ Religious Beliefs.

       82.    In August 2021, after Artis-Naples announced the Mandate, Plaintiffs

each timely submitted a request for religious accommodation. Plaintiffs used Artis-

Naples’s exemption form and otherwise complied with the accommodation process in

every respect.

       83.    In their requests, Plaintiffs informed Artis-Naples that the Mandate

conflicted with their sincerely held religious beliefs, including their beliefs that all life

is sacred to God and that the available vaccines’ connection to aborted fetal cells

rendered their receipt morally unacceptable as a matter of non-negotiable religious

doctrine.




 28
        EU      Digital     COVID        Certificate,  European      Commission,
https://ec.europa.eu/info/live-work-travel-eu/coronavirus-response/safe-covid-19-
vaccines-europeans/eu-digital-covid-certificate_en.

                                             20
Case 2:22-cv-00606-JLB-KCD Document 1 Filed 09/21/22 Page 23 of 56 PageID 23




        84.    In September 2021, the Accommodation Review Committee met to

review the applications. Upon information and belief, the Committee initially

approved Plaintiffs’ respective requests.

        85.    But, unsatisfied with that outcome, Artis-Naples reconstituted the

Committee and changed its leadership.

        86.    After David Filner took control, the Committee arbitrarily reversed the

initial decision on Plaintiffs’ applications, along with the other employees’ requests.

        87.    Despite peddling an “interactive process until the Committee has either

granted or denied the requested accommodation,” 29 Artis-Naples failed to engage in a

bilateral, individualized, and cooperative process with Plaintiffs to explore an

acceptable reconciliation between Plaintiffs’ religious needs and the exigencies of

Artis-Naples’s operations.

        88.    Indeed, Artis-Naples even failed to directly respond to Plaintiffs’ requests

for an exemption to the Mandate and for a religious accommodation. Instead, after

Plaintiffs submitted their accommodation requests, Artis-Naples removed Plaintiffs

and two other musicians from all concerts and instructed them to remain off campus.

        89.    Unsettled by the lack of communication from Artis-Naples, Plaintiff

Leigh submitted in September 2021 two separate and additional pleas for a religious

exemption and accommodation. In both requests, Leigh made it clear to Artis-Naples




 29
      Mandate, supra note 16; Ex. 2.

                                            21
Case 2:22-cv-00606-JLB-KCD Document 1 Filed 09/21/22 Page 24 of 56 PageID 24




that she would be willing to wear masks, take periodic tests, and carry out other safety

measures in lieu of vaccination. But Plaintiff Leigh’s appeal was ignored.

        90.   On September 29, 2021, Plaintiffs and two other musicians sent an email

to their fellow members of the Naples Philharmonic, asking them “to stand with us in

the current vaccine accommodation situation.” 30 Plaintiffs and the two other

musicians noted that “[w]e are not just numbers in an institution, but rather we are

part of the Naples Philharmonic family.” The musicians pointed out that the orchestra

was “able to successfully maintain safe working conditions last year with weekly

testing and masking.” Thus, the musicians asked the orchestra members to vote to

affirm the following:

              The Naples Philharmonic musicians stand unified in approving
              the five pending vaccine accommodation requests mentioned
              above. All accommodations shall include full compliance with
              current Covid safety protocols for as long as management deems
              necessary.

        91.   Artis-Naples ignored Plaintiffs’ commitment to “full compliance with

current Covid safety protocols.”

        92.   Instead, scrapping the “interactive process,” Artis-Naples CEO Kathleen

van Bergen sent Plaintiffs each a letter dated October 5, 2021, announcing that Artis-

Naples will “include only vaccinated musicians at least through the end of the calendar

year.” 31


 30
    E-mail from Ashley Leigh, to Glenn Basham (Sept. 29, 2021, 12:29 PM) [attached
as Exhibit 4].
 31
      Letter from Kathleen van Bergen, CEO, Artis-Naples, to Ashley Leigh (Oct. 5,
                                          22
Case 2:22-cv-00606-JLB-KCD Document 1 Filed 09/21/22 Page 25 of 56 PageID 25




       93.    As a result, Artis-Naples placed Plaintiffs on involuntary leave effective

November 1, 2021. And as further punishment for not receiving the COVID-19 vaccine

in violation of their religious convictions, Artis-Naples slashed Plaintiffs’ pay by 30%

for the remainder of the year. Van Bergen stated that Artis-Naples would reassess

Plaintiffs’ status and communicate any change by December 1, 2021.

       94.    Despite forcing Plaintiffs into an involuntary leave with partial pay for

being unvaccinated, Artis-Naples issued a “Media Alert” on October 28, 2021,

announcing that on November 1—the very same day Plaintiffs’ punishment became

effective—Artis-Naples would allow unvaccinated patrons to attend concerts and other large

gatherings if they provided proof of a negative COVID test. 32

       95.    But Artis-Naples refused to extend the same testing accommodation to

Plaintiffs.

       96.    Artis-Naples offered no reason why it provided testing accommodations

to unvaccinated patrons coming to listen to the Naples Philharmonic but not to the

musicians performing for those same unvaccinated patrons, in the same concert hall,

breathing the same air.

       97.    Three weeks after Artis-Naples placed Plaintiffs on their involuntary

leave, Governor Ron DeSantis signed into law Florida Statute § 381.00317, which


2021) [attached as Exhibit 5]; Letter from Kathleen van Bergen, CEO, Artis-Naples,
to Erik Berg (Oct. 5, 2021) [attached as Exhibit 6]; Letter from Kathleen van Bergen,
CEO, Artis-Naples, to James Griffith (Oct. 5, 2021) [attached as Exhibit 7].
 32
    Press Release, Artis-Naples, COVID-19 Protocols and Policies Update (Oct. 28, 2021)
[attached as Exhibit 8].

                                              23
Case 2:22-cv-00606-JLB-KCD Document 1 Filed 09/21/22 Page 26 of 56 PageID 26




prohibits private-employers like Artis-Naples from imposing COVID-19 vaccination

mandates without granting religious (and other) exemptions and opt-outs to everyone

who requests them.

       98.    The law applies retroactively to any existing private-employer COVID-19

vaccination mandate, including Artis-Naples’s Mandate.

       99.    Despite Section 381.00317 becoming law in November 2021, Artis-

Naples did not rescind the Mandate. Nor did Artis-Naples revise its “no exemption”

policy to incorporate the exemption process mandated by Section 381.00317. Nor did

Artis-Naples grant Plaintiffs’ exemption requests or end Plaintiffs’ involuntary leave.

       100. Instead, van Bergen sent Plaintiffs another letter dated December 1, 2021,

stating that the Mandate remained in full force and that Artis-Naples would continue

to subject Plaintiffs to involuntary, partially paid leaves of absence until further notice,

notwithstanding their religious exemption requests. 33

V.     Artis-Naples Wrongfully Terminated Plaintiffs.

       101. More than three months passed before Artis-Naples communicated again

with Plaintiffs about their employment status. In March 2022, van Bergen invited

Plaintiffs for separate meetings at Artis-Naples’s offices.




 33
    Letter from Kathleen van Bergen, CEO, Artis-Naples, to Ashley Leigh (Dec. 1,
2021) [attached as Exhibit 9]; Letter from Kathleen van Bergen, CEO, Artis-Naples,
to Erik Berg (Dec. 1, 2021) [attached as Exhibit 10]; Letter from Kathleen van Bergen,
CEO, Artis-Naples, to James Griffith (Dec. 1, 2021) [attached as Exhibit 11].

                                            24
Case 2:22-cv-00606-JLB-KCD Document 1 Filed 09/21/22 Page 27 of 56 PageID 27




      102. Plaintiffs Leigh and Berg each met separately with van Bergen on April

1, 2022. The meeting took place in person, at Artis-Naples, where van Bergen and

another Artis-Naples agent met with Leigh, and separately with Berg and Berg’s wife.

      103. Prior to the meeting, van Bergen required Leigh and Berg to take a

COVID-19 test, which they did, and both tested negatively.

      104. At the meeting, while seated at a small table in close proximity to van

Bergen, Berg and his wife asked whether they needed to wear masks. Van Bergen

responded that there was no need for masking, and that the meeting was safe, because

Berg had just tested negative for COVID-19.

      105. Van Bergen shook the hands of both Leigh and Berg at this meeting, sat

close to them at a table, and exhibited no safety concerns, because both had tested

negative for COVID-19.

      106. Rather than providing Leigh and Berg with the same testing option that

van Bergen considered to be a safe substitute for vaccination (and even for masking)

during their close, in-person meeting, van Bergen instead provided Leigh and Berg

with a letter from Artis-Naples dated April 1, 2022, outlining the fate of their jobs. 34

      107. Because Plaintiff Griffith was unable to meet with van Bergen on the

same date, van Bergen later emailed the same letter to Griffith. 35


 34
    Letter from Kathleen van Bergen, CEO, Artis-Naples, to Ashley Leigh (Apr. 1,
2022) [attached as Exhibit 12]; Letter from Kathleen van Bergen, CEO, Artis-Naples,
to Erik Berg (Apr. 1, 2022) [attached as Exhibit 13].
 35
   Letter from Kathleen van Bergen, CEO, Artis-Naples, to James Griffith (Apr. 1,
2022) [attached as Exhibit 14].

                                            25
Case 2:22-cv-00606-JLB-KCD Document 1 Filed 09/21/22 Page 28 of 56 PageID 28




      108. In the letter, Artis-Naples provided Plaintiffs three “options” for their

employment. One, Plaintiffs could receive the COVID-19 vaccine in violation of their

religious beliefs, and return to work in the 2022-23 season. Two, Plaintiffs could take

another year leave of absence, completely unpaid, and then return to work in the 2023-

24 season—but only if they accepted a COVID-19 vaccine in violation of their

religious beliefs. Or three, Plaintiffs could resign from Artis-Naples effective June 30,

2022, and, so long as they signed a full release of liability, receive severance pay for

one year.

      109. If Plaintiffs did not accept any of these three options, then Artis-Naples

indicated that it would terminate them as of June 30, 2022.

      110. On April 8, 2022—while indisputably still employed by Artis-Naples, and

hoping to keep the job he had held since 1989—Plaintiff Griffith submitted to Artis-

Naples two additional exemption requests, this time using the forms prescribed by

Florida Statute § 381.00317: one for a religious exemption and one for a periodic

testing exemption.36

      111. On April 22, 2022—while indisputably still employed by Artis-Naples,

and hoping to keep the jobs they had held since 1990 and 2005, respectively—Plaintiffs




 36
     James Griffith, Completed Forms, Religious Exemption from COVID-19
Vaccination & Exemption from COVID-19 Vaccination Based On Periodic Testing
[attached as Exhibit 15].

                                           26
Case 2:22-cv-00606-JLB-KCD Document 1 Filed 09/21/22 Page 29 of 56 PageID 29




Berg and Leigh also submitted the same two requests each, using the forms prescribed

by Section 381.00317. 37

        112. Under Florida law, these completed exemption statements automatically

“require[] the employer to allow the employee to opt-out of the employer’s COVID-19

vaccination mandate,” without further consideration, question or inquiry. 38

        113. Instead of granting Plaintiffs their requested exemptions as required by

Section 381.00317, Artis-Naples deliberately chose to flout and violate the law.

        114. In emails dated April 14, 2022, and April 26, 2022, van Bergen rejected

Plaintiffs’ respective requests for a renewed exemption, falsely claiming that Section

381.00317 did not apply to the Mandate because the law was enacted after Artis-

Naples’s COVID Committee denied Plaintiffs’ initial accommodation requests. 39

        115. On May 16, 2022, Plaintiffs’ counsel sent a demand letter to Artis-Naples

CEO Kathleen van Bergen “as a final attempt to resolve this issue and vindicate their




 37
     Ashley Leigh, Completed Forms, Religious Exemption from COVID-19
Vaccination & Exemption from COVID-19 Vaccination Based On Periodic Testing
[attached as Exhibit 16]; Erik Berg, Completed Forms, Religious Exemption from
COVID-19 Vaccination & Exemption from COVID-19 Vaccination Based On Periodic
Testing [attached as Exhibit 17].
 38
      See Forms, supra notes 36 & 37; Exs. 15–17; see also Barkis, supra note 1 and Ex. 1.
 39
     Email from Kathleen van Bergen, CEO, Artis-Naples, to Jim Griffith (Apr. 12,
2022, 12:41 PM) [attached as Exhibit 18]; Email from Kathleen van Bergen, CEO,
Artis-Naples, to Jim Griffith (Apr. 14, 2022, 8:46 AM) [attached as Exhibit 19]; Email
from Kathleen van Bergen, CEO, Artis-Naples, to Erik Berg (Apr. 26, 2022, 3:52 PM)
[attached as Exhibit 20]; Email from Kathleen van Bergen, CEO, Artis-Naples, to
Ashley Leigh (Apr. 26, 2022, 3:53 PM) [attached as Exhibit 21].

                                             27
Case 2:22-cv-00606-JLB-KCD Document 1 Filed 09/21/22 Page 30 of 56 PageID 30




clear rights without judicial intervention.” 40 Plaintiffs once again requested that their

religious exemption requests be granted, and that they be permitted to return to work

with reasonable alternative precautions, such as periodic testing.

        116. In reckless disregard of its Title VII obligations and in blatant violation

of Section 381.00317, Artis-Naples doubled-down on its discriminatory mandate and

rejected Plaintiffs’ attempt for an amicable resolution.

        117. On June 30, 2022, Artis-Naples unlawfully terminated Plaintiffs’

employment solely because of their religious refusal to comply with the Mandate.

VI.     Artis-Naples’s Unlawful, Unscientific and Irrational Pretext for its
        Discriminatory Mandate.

        118. Artis-Naples irrationally and pretextually argues that accommodating

unvaccinated employees who follow alternative preventative measures would place an

“undue hardship” on its operations—specifically, that unvaccinated employees present

“a direct threat” of infection to patrons and coworkers. 41

        119. Artis-Naples’s “undue hardship” argument is merely a pretext for

religious discrimination, unsupported by scientific or medical evidence, and evinces a

reckless disregard of its obligations under Title VII and Section 381.00317.




 40
   Letter from Horatio G. Mihet, Vice President of Legal Affairs & Chief Litigation
Counsel, Liberty Counsel, to Kathleen van Bergen, CEO, Artis-Naples (May 16,
2022),   https://lc.org/PDFs/Attachments2PRsLAs/052322REDACTEDLtrArtis-
NaplesReUnlawfu%20DenialofReligiousExemptions_Redacted.pdf.
 41
      Mandate, supra note 16; Ex. 2.

                                           28
Case 2:22-cv-00606-JLB-KCD Document 1 Filed 09/21/22 Page 31 of 56 PageID 31




       A.     As a Matter of Law, Complying with Florida Law and Public Policy
              Cannot Be an “Undue Hardship” on Artis-Naples.

       120. As alleged above, and as acknowledged by Artis-Naples’s own legal

counsel, Florida law requires Artis-Naples to exempt Plaintiffs from the Mandate on

the basis of either their religious beliefs or their agreement to undergo periodic testing.

See Fla. Stat. § 381.00317; see also, note 1, supra.

       121. As a matter of law, it can never be an “undue hardship” for an employer

to comply with the state law and public policy. Nor is it an “undue hardship” for an

employer to provide its employees with accommodations that the law and public policy

require the employer to provide.

       122. If it is true that an employer would suffer an undue hardship if

accommodating an employee’s religious practice would violate the law, then the

converse must also be true: Artis-Naples cannot assert an “undue hardship” in

providing a religious accommodation that state law requires it to provide.

       123. Section 381.00317 unequivocally demonstrates Florida’s public policy on

private-employer vaccination mandates, and it demonstrates that the accommodations

that Plaintiffs sought are legally required, and, therefore, they cannot be an undue

hardship for Artis-Naples.

       B.     Scientific Evidence Shows that Unvaccinated Persons Are Not
              Vectors of Disease Compared with Vaccinated Persons.

       124. Artis-Naples’s pretextual position that unvaccinated employees are

vectors of disease, while vaccinated employees are not, also contravenes scientific

evidence.

                                             29
Case 2:22-cv-00606-JLB-KCD Document 1 Filed 09/21/22 Page 32 of 56 PageID 32




      125. According to an October 2021 study published in the prestigious peer-

reviewed medical journal The Lancet and funded by the United Kingdom’s National

Institute for Health Research, “fully vaccinated individuals with breakthrough

infections have peak viral load similar to unvaccinated cases” and “can efficiently

transmit infection” in close settings, including to fully vaccinated persons. 42 The study

found “no evidence of lower SARs from fully vaccinated delta index cases than from

unvaccinated ones,” and “[t]he modest scale of differences in viral kinetics between

fully vaccinated and unvaccinated individuals with delta infection might explain the

relatively high rates of transmission seen from vaccinated delta index cases.” In sum,

the study shows that the impact of vaccination on community transmission of

circulating variants of SARS-CoV-2 is not significantly different from the impact

among unvaccinated people.

      126. Similarly, researchers in California observed no major differences

between vaccinated and unvaccinated individuals of SARS-CoV-2 viral loads, even in

those with proven asymptomatic infection. 43




 42
    Anika Singanayaman et al., Community Transmission and Viral Load Kinetics of the
SARS-CoV-2 Delta (B.1.617.2) Variant in Vaccinated and Unvaccinated Individuals in the UK,
Lancet         Infectious          Diseases            (Oct.          28,           2021),
https://www.thelancet.com/action/showPdf ?pii=S1473-3099%2821%2900648-4.
 43
    Charlotte Acharya et al., No Significant Difference In Viral Load Between Vaccinated
and Unvaccinated, Asymptomatic and Symptomatic Groups Infected with SARS-Cov-2 Delta
Variant,                      medRvix               (Oct.            5,          2021),
https://www.medrxiv.org/content/10.1101/2021.09.28.21264262v2.full.pdf.

                                           30
Case 2:22-cv-00606-JLB-KCD Document 1 Filed 09/21/22 Page 33 of 56 PageID 33




       127. CDC Director Rochelle Walensky declared that “the Delta infection

resulted in similarly high SARSCoV-2 viral loads in vaccinated and unvaccinated

people.” 44

       128. Another study detailed COVID-19 breakthrough infections at Israel’s

largest medical center among fully vaccinated healthcare workers, who in turn

transmitted the infection to their patients. 45 The study noted that although most

breakthrough cases were mild or asymptomatic, nearly 20% had persistent symptoms

lasting six weeks or longer.

       129. Dr. Carlos Franco-Paredes, an infectious disease expert from the

University of Colorado, explained in The Lancet that “the current evidence suggests

that current mandatory vaccination policies might need to be reconsidered, and that

vaccination status should not replace mitigation practices such as mask wearing,

physical distancing, and contact-tracing investigations, even within highly vaccinated

populations.” 46




 44
    Statement from CDC Director Rochelle P. Walensky, MD, MPH on Today’s
MMWR, Centers for Disease Control & Prevention (July 30, 2021),
https://www.cdc.gov/media/releases/2021/s0730-mmwr-covid-19.html.
 45
    Moriah Bergwerk et al., COVID-19 Breakthrough Infections in Vaccinated Health Care
Workers,     New       England       Med.        J.       (Oct.       14,       2021),
https://www.nejm.org/doi/full/10.1056/NEJMoa2109072.
 46
    Carlos Franco-Paredes, SARS-CoV-2 Among Fully Vaccinated Individuals, The Lancet
(Jan.        2022),        https://www.thelancet.com/action/showPdf ?pii=S1473-
3099%2821%2900768-4.

                                         31
Case 2:22-cv-00606-JLB-KCD Document 1 Filed 09/21/22 Page 34 of 56 PageID 34




      130. Indeed, scientific data shows the exact opposite of Artis-Naples’s

pretextual justification, namely that COVID-19 vaccination does not make a

vaccinated employee less “risky” or less of a “direct threat” relative to the risk of

transmission posed by an unvaccinated employee, especially when both employees

wear PPE, and when the unvaccinated employee is willing to undergo regular testing

as an accommodation. 47

      131. Scientific data also shows the waning effectiveness of the COVID-19

vaccines and boosters. A recent National Institutes of Health (NIH)-sponsored study

found that COVID-19 vaccine-induced antibody response to the Omicron subvariants

wanes significantly over time. Indeed, the study found that immune responses to

several Omicron subvariants “waned substantially” among “all groups” of individuals

who received the Johnson & Johnson, Pfizer, or Moderna vaccine as well as a booster

dose or combination of different vaccines. 48

      132. Even more recently, the Centers for Disease Control and Prevention

announced on August 11, 2022, that it relaxed its COVID-19 guidelines. The CDC’s

new guidelines dropped the recommendation that Americans quarantine themselves

if they come into close contact with an infected person, announced that people no


 47
    See Sanjay Mishra, Evidence Mounts that People with Breakthrough Infections Can
Spread    Delta    Easily,    National      Geographic    (Aug.     20,      2021),
https://www.nationalgeographic.com/science/article/evidence-mounts-that-people-
with-breakthrough-infections-can-spread-delta-easily.
 48
    Kirsten Lyke et al, Rapid Decline in Vaccine-boosted Neutralizing Antibodies against
SARS-CoV-2 Omicron Variant, Cell Reports Medicine (July 19, 2022),
https://www.ncbi.nlm.nih.gov/pmc/articles/PMC9212999/pdf/main.pdf

                                          32
Case 2:22-cv-00606-JLB-KCD Document 1 Filed 09/21/22 Page 35 of 56 PageID 35




longer need to maintain six feet of social distancing, and no longer recommends

screening testing of asymptomatic people in most community settings. 49 The CDC’s

changes “are driven by a recognition that an estimated 95% of Americans 16 and older

have acquired some level of immunity, either from being vaccinated or infected.” 50

      133. In short, Artis-Naples’s pretextual argument that allowing Plaintiffs to

work with alternative precautions would be “an undue hardship” is unsupported by

scientific evidence and is at odds with the CDC’s guidelines.

      C.     Artis-Naples Allows Unvaccinated Patrons and Visitors on Premises.

      134. Despite evicting Plaintiffs from its premises in October 2021 for not being

vaccinated, Artis-Naples allows (and has allowed) unvaccinated patrons to attend

Naples Philharmonic concerts and other events.

      135. From November 2021 until May 2022, Artis-Naples allowed

unvaccinated, unmasked guests to attend Naples Philharmonic concerts as long as

they provided “proof of a professionally administered rapid antigen test taken no more

than 24 hours prior to the performance date or a professionally administered negative

COVID-19 PCR test taken no more than 72 hours prior to the performance date.” 51



 49
    Greta M. Massetti et al., Summary of Guidance for Minimizing the Impact of COVID-
19 on Individual Persons, Communities, and Health Care Systems, Ctrs. for Disease Control
&                 Prevention                (Aug.                11,               2022),
https://www.cdc.gov/mmwr/volumes/71/wr/pdfs/mm7133e1-H.pdf.
 50
      Mike Stobbe and Collin Binkley, CDC Drops Quarantine, Distancing
Recommendations       for   COVID,       Associated     Press     (Aug.     11,    2022),
https://apnews.com/article/covid-science-health-pandemics-public-
ace8870b5e4ac4500aa06964db0544b8.
 51
    Artis-Naples 2021-22 COVID Protocols, supra note 14.

                                           33
Case 2:22-cv-00606-JLB-KCD Document 1 Filed 09/21/22 Page 36 of 56 PageID 36




      136. On May 20, 2022, four days after Plaintiffs sent their demand letter, Artis-

Naples announced that it was “pleased to lift all COVID-19 patron protocols.” And as of

July 29, 2022, Artis-Naples states that it “does not currently have any COVID-19

patron protocols.” 52

      137. Thus, Artis-Naples already allows unvaccinated patrons and visitors to

attend its events, including orchestra performances. These unvaccinated individuals

are permitted to be in the same concert hall, and breathe the same air, as the Naples

Philharmonic musicians.

      138. Notwithstanding that the Mandate violates state and federal law, no

logical reason exists why Artis-Naples could not provide Plaintiffs with the same

accommodation that it provided (and continues to provide) for its visitors and patrons.

      139. Indeed, upon information and belief, the SARSCoV-2 virus does not

know the difference between an unvaccinated musician and an unvaccinated patron.

      D.     Artis-Naples Allows Unvaccinated Employees to Interact with
             Vaccinated Employees on Its Premises and at Its Sponsored Events.

      140. Artis-Naples’s purported “undue hardship” of allowing Plaintiffs to work

is also exposed as a pretext for religious discrimination by its apparently lax workplace

culture when patrons are not around.

      141. For example, as already alleged above, at the April 1, 2022, meeting

where Artis-Naples issued Plaintiffs its vaccinate-or-be-fired ultimatum, CEO



 52
    Health & Safety, Artis-Naples (July 29, 2022), https://artisnaples.org/visit/health-
safety.

                                           34
Case 2:22-cv-00606-JLB-KCD Document 1 Filed 09/21/22 Page 37 of 56 PageID 37




Kathleen van Bergen met in person with Plaintiff Leigh, and separately with Plaintiff

Berg and his wife, shook their hands, and stood at a small, six-person table with them.

      142. During the meeting, Plaintiff Berg and his wife asked van Bergen whether

they needed to put masks on. Van Bergen, who was herself unmasked, responded that

masking was unnecessary because Berg tested negative for COVID-19 before the

meeting.

      143. Plaintiffs’ negative COVID-19 tests were sufficient for van Bergen to meet

with them on campus, unmasked, and to shake their hands. No rational, and no legally

valid, reason exists why Artis-Naples could not also allow the same employees to

continue their careers at Artis-Naples with periodic COVID-19 testing, as Artis-Naples

is required by Florida law to allow.

      144. As another example, even though it had evicted Plaintiffs from its

premises in October 2021, Artis-Naples invited Plaintiffs to attend its Christmas party

in December 2021, and its end-of-season party in May 2022, despite their continued

unvaccinated status. After Plaintiffs tested negative for COVID-19, Artis-Naples allowed

them to mingle, interact, shake hands with—and even to hug—its vaccinated

employees. Artis-Naples also allowed Plaintiffs to eat from the same self-serve food

buffet as the vaccinated employees.




                                          35
Case 2:22-cv-00606-JLB-KCD Document 1 Filed 09/21/22 Page 38 of 56 PageID 38




      145. Examples of the unvaccinated Plaintiffs closely socializing indoors with

Artis-Naples coworkers at an end-of-season party organized and hosted by Artis-

Naples at a local bowling alley can be seen in these pictures, the first of which includes

van Bergen doing such socializing herself with unvaccinated Plaintiff Griffith:




      146. There is no rational reason, nor any legally valid reason, why the same

accommodation Artis-Naples provided for the unvaccinated Plaintiffs to attend Artis-

Naples-sponsored social events (testing negative for COVID-19) cannot be provided to

allow them to continue their decades-long careers at Artis-Naples.

      147. Yet, Artis-Naples pretextually contends that the SARSCoV-2 virus is

more contagious at a massive concert hall humming with state-of the-art filtration

systems than at a close business meeting or a bowling alley where food, hugs and

handshakes are shared and given.




                                           36
Case 2:22-cv-00606-JLB-KCD Document 1 Filed 09/21/22 Page 39 of 56 PageID 39




      E.     The Mandate is An Extreme Outlier in Florida’s Performance Arts
             Industry.

      148. Artis-Naples’s Mandate not only directly violates Florida law; it is a

radical outlier among performance arts entities across the State.

      149. Upon information and belief, and based on publicly available sources, the

Fort Myers-based Southwest Florida Symphony does not mandate vaccination for its

employees, job applicants, contractors, and volunteers. Indeed, as of March 2022, the

Southwest Florida Symphony “no longer require patrons to wear masks to attend

performances at all venues.” 53

      150. Upon information and belief, and based on publicly available sources, the

Orlando Philharmonic Orchestra does not mandate vaccination for its employees, job

applicants, contractors, and volunteers. Indeed, on March 7, 2022, the Orchestra even

lifted “mask requirements” for indoor events, stating that “masks will no longer be

required for patrons of OPO performances.” 54 As of May 2022, all performances are

sat at full capacity with no socially-distanced seating.

      151. Upon information and belief, and based on publicly available sources, the

Arsht Center, Miami’s preeminent performance arts center, does not mandate

vaccination for its employees, contractors, volunteers, and performers, which includes

the Miami Symphony Orchestra. Indeed, as of March 11, 2022, the Arsht Center no


 53
   COVID-19 Protocols, Southwest Florida Symphony, https://www.swflso.org/covid-
19-protocols/.
 54
       Health   &    Safety   Guidelines,   Orlando     Philharmonic       Orchestra,
https://orlandophil.org/returning-to-the-concert-hall/.

                                           37
Case 2:22-cv-00606-JLB-KCD Document 1 Filed 09/21/22 Page 40 of 56 PageID 40




longer requires masks at its facilities except when specifically requested by touring

performers. 55

       152. Upon information and belief, and based on publicly available sources, the

New World Center, home of the New World Symphony (NWS) in Miami Beach, does

not mandate vaccination for its employees, contractors, and volunteers. Indeed, as of

March 21, 2022, masks are no longer required at NWS events. Nor are guests required

to provide a negative COVID-19 test. Instead, NWS administers “weekly COVID-19

tests of all staff and musicians accessing the New World Center.” 56

       153. That other Florida performance arts venues and orchestras follow state

law and do not impose vaccination requirements on their employees and applicants

(and certainly not without providing the statutorily required exemptions) further

confirms that Artis-Naples’s Mandate is arbitrary, extreme, and discriminatory.

       154. Even outside Florida, orchestras are allowing unvaccinated musicians to

work. For example, Plaintiff Leigh has knowledge upon information and belief that

the Boston Symphony Orchestra has granted religious accommodations to its

musicians with religious objections to the COVID-19 vaccines and has allowed them

to work so long as they observe certain safety measures.




 55
       Health and Safety, Adrienne Arsht Center (July                    11,      2022)
https://www.arshtcenter.org/plan-your-visit/health-and-safety/.
 56
        Our  COVID-19     Safety   Protocols,    New      World           Symphony,
https://www.nws.edu/about/new-world-center-safety-protocols/.

                                          38
 Case 2:22-cv-00606-JLB-KCD Document 1 Filed 09/21/22 Page 41 of 56 PageID 41




       155. Nothing is different about Artis-Naples that would make it more

burdensome for it to provide accommodations than it would for the Boston Symphony

Orchestra or any other orchestra.

VII.   The Availability of Reasonable Accommodations, and                     Plaintiffs’
       Willingness to Comply with Alternative Safety Measures.

       156. From September 2020 to May 2021, Artis-Naples successfully conducted

a full concert season without mandatory vaccination, by incorporating weekly testing,

social distancing, and the wearing masks.

       157. As they repeatedly made clear to Artis-Naples, Plaintiffs were willing to

adhere to reasonable health and safety measures as an alternative to vaccination,

including masking, regular testing, daily self-assessments, and other safety protocols to

monitor and report any sign of symptoms, as they did during the 2020-2021 concert

season.

       158. In short, Plaintiffs were willing to comply, and would have complied,

with any reasonable accommodation for their sincerely held religious objection to the

Mandate.

       159. Yet in reckless disregard of state and federal law, Artis-Naples summarily

rejected its legal obligations, failed to accommodate Plaintiffs, and wrongfully

terminated them.




                                            39
Case 2:22-cv-00606-JLB-KCD Document 1 Filed 09/21/22 Page 42 of 56 PageID 42




                              CLAIMS FOR RELIEF

                                   COUNT I
               VIOLATION OF TITLE VII, 42 U.S.C. § 2000e, et seq.
               Religious Discrimination – Failure to Accommodate

      160. Plaintiffs re-allege and incorporate by reference each allegation set forth

in paragraphs 1–159.

      161. Title VII requires an employer to reasonably accommodate an

employee’s religious observances and practices unless it would cause undue hardship

on the conduct of the employer’s business. See 42 U.S.C. §2000e-(j).

      162. Plaintiffs hold bona fide religious beliefs that precluded them from

receiving a COVID-19 vaccine, and thus complying with the Mandate.

      163. Plaintiffs informed Artis-Naples of their religious beliefs and requested a

reasonable accommodation from the Mandate.

      164. Artis-Naples failed to engage in a bilateral, individual, and cooperative

process with Plaintiffs regarding their religious accommodation requests.

      165. Artis-Naples failed to accommodate Plaintiffs’ religious observances and

practices. Instead, Artis-Naples discharged Plaintiffs for not complying with the

Mandate.

      166. Plaintiffs’ religious beliefs about receiving a COVID-19 vaccine were the

bases for Artis-Naples’s discriminatory treatment.

      167. Accommodating Plaintiffs’ religious beliefs, as required by state and

federal law, would not have resulted in an undue hardship on Artis-Naples or its

operations. It is not an undue hardship to comply with state and federal law.
                                          40
Case 2:22-cv-00606-JLB-KCD Document 1 Filed 09/21/22 Page 43 of 56 PageID 43




       168. Artis-Naples’s refusal to accommodate has been intentional, deliberate,

willful, malicious, reckless, in callous disregard to Plaintiffs’ rights, thereby entitling

Plaintiffs to punitive damages.

       169. As a result of Artis-Naples’s failure to accommodate, Plaintiffs have

suffered and continue to suffer harm, including lost earnings, lost benefits, and other

financial loss.

       170. As a result of Artis-Naples’s unlawful COVID-19 vaccination mandate

and failure to accommodate, Plaintiffs have suffered, and continue to suffer,

irreparable harm. Given that their unique positions are once-in-a-lifetime employment

opportunities, Plaintiffs cannot be made whole simply by monetary damages. Instead,

reinstatement is necessary to fully remedy Plaintiffs for the deprivation of their

federally protected rights. In any event, irreparable harm is presumed by the mere fact

that Artis-Naples is recklessly violating Title VII.

       171. As a further result of Artis-Naples’s unlawful failure to accommodate,

Plaintiffs have suffered and continue to suffer damages, humiliation, embarrassment,

emotional and physical distress, and mental anguish.

       172. Plaintiffs thus are entitled to all legal and equitable remedies under Title

VII, including compensatory and punitive damages.




                                            41
Case 2:22-cv-00606-JLB-KCD Document 1 Filed 09/21/22 Page 44 of 56 PageID 44




                                    COUNT II
                   VIOLATION OF TITLE VII, 42 U.S.C. § 2000e–2
                  Religious Discrimination – Disparate Treatment

      173. Plaintiffs re-allege and incorporate by reference each allegation set forth

in paragraphs 1–159.

      174. Title VII makes it illegal for an employer “to discriminate against any

individual with respect to his compensation, terms, conditions, or privileges of

employment” on the basis of religion. 42 U.S.C. § 2000e–2(a)(1).

      175. Plaintiffs belong to a protected class of employees with bona fide

religious objections to Artis-Naples’s COVID-19 vaccination mandate.

      176. Artis-Naples engaged in an intentional, organization-wide and systemic

policy, pattern, and practice of religious discrimination against Plaintiffs by, among

other actions, maintaining a discriminatory mandatory vaccination policy that

provided no religious exemption mandated by state law; failing to reasonably

accommodate Plaintiffs’ bona fide religious beliefs and objections to the COVID-19

vaccines; discriminatorily pressuring Plaintiffs to forego their religious beliefs and

conscience to subject themselves to an unwanted medical procedure; and other forms

of discrimination.

      177. At a minimum, by imposing the Mandate on Plaintiffs, deliberately

refusing to accommodate Plaintiffs’ sincerely held religious beliefs, and placing

Plaintiffs on involuntary leave with partial pay, Artis-Naples intentionally

discriminated against Plaintiffs on the basis of their religious beliefs and practices.



                                            42
Case 2:22-cv-00606-JLB-KCD Document 1 Filed 09/21/22 Page 45 of 56 PageID 45




        178. Artis-Naples’s intentionally disparate treatment was motivated by

discriminatory animus toward Plaintiffs’ sincere religious objections to the COVID-19

vaccines.

        179. Artis-Naples has treated Plaintiffs differently from, and less preferentially

than, similarly situated employees with no religious objections to the Mandate.

        180. As a result of Artis-Naples’s disparate treatment, Plaintiffs suffered

adverse employment actions—including threat of discharge for noncompliance with

the Mandate, involuntary leaves with partial pay, and ultimately termination of

employment—that materially and adversely changed the overall terms and conditions

of their employment.

        181. Artis-Naples has failed to prevent, respond to, investigate, and

appropriately resolve its policy and practice of religious discrimination.

        182. Artis-Naples’s disparate treatment has been intentional, deliberate,

willful, malicious, reckless, in callous disregard to Plaintiffs’ rights, thereby entitling

Plaintiffs to punitive damages.

        183. Because of the continuous nature of Artis-Naples’s discriminatory policy

and practice, Plaintiffs are entitled to application of the continuing violations doctrine

to all violations alleged in this Verified Complaint.

        184. As a result of Artis-Naples’s disparate treatment, Plaintiffs have suffered

and continue to suffer harm, including lost earnings, lost benefits, and other financial

loss.



                                            43
Case 2:22-cv-00606-JLB-KCD Document 1 Filed 09/21/22 Page 46 of 56 PageID 46




      185. As a result of Artis-Naples’s unlawful COVID-19 vaccination mandate

and disparate treatment, Plaintiffs have suffered, and continue to suffer, irreparable

harm. Given that their unique positions are once-in-a-lifetime employment

opportunities, Plaintiffs cannot be made whole simply by monetary damages. Instead,

reinstatement is necessary to fully remedy Plaintiffs for the deprivation of their

federally protected rights. In any event, irreparable harm is presumed by the mere fact

that Artis-Naples is recklessly violating Title VII.

      186. As a further result of Artis-Naples’s unlawful disparate treatment,

Plaintiffs have suffered and continue to suffer damages, humiliation, embarrassment,

emotional and physical distress, and mental anguish.

      187. Plaintiffs thus are entitled to all legal and equitable remedies under Title

VII, including compensatory and punitive damages.

                                    COUNT III
                  VIOLATION OF TITLE VII, 42 U.S.C. § 2000e–2
                 Religious Discrimination – Wrongful Termination

      188. Plaintiffs re-allege and incorporate by reference each allegation set forth

in paragraphs 1–159.

      189. Title VII makes it unlawful for an employer “to discharge any

individual … because of such individual’s ... religion.” 42 U.S.C. § 2000e–2(a)(1).

      190. At the time of the discrimination, Plaintiffs were Artis-Naples

employees—qualified in all respects to do their jobs competently—with sincere

religious objections to receiving COVID-19 vaccines.



                                            44
Case 2:22-cv-00606-JLB-KCD Document 1 Filed 09/21/22 Page 47 of 56 PageID 47




       191. Artis-Naples terminated Plaintiffs’ employment after Plaintiffs refused to

violate their conscience by subjecting themselves to Artis-Naples’s vaccination

mandate.

       192. Artis-Naples’s termination of Plaintiffs was an adverse employment

action that materially and adversely changed the overall terms and conditions of their

employment, in violation of Title VII.

       193. Artis-Naples’s conduct has been intentional, deliberate, willful,

malicious, reckless, in callous disregard to Plaintiffs’ rights, thereby entitling Plaintiffs

to punitive damages.

       194. As a result of Artis-Naples’s wrongful termination of Plaintiffs, Plaintiffs

have suffered and continue to suffer harm, including but not limited to lost earnings,

lost benefits, and other financial loss.

       195. As a result of Artis-Naples’s unlawful COVID-19 vaccination mandate

and wrongful termination, Plaintiffs have suffered, and continue to suffer, irreparable

harm. Given that their unique positions are once-in-a-lifetime employment

opportunities, Plaintiffs cannot be made whole simply by monetary damages. Instead,

reinstatement is necessary to fully remedy Plaintiffs for the deprivation of their

federally protected rights. In any event, irreparable harm is presumed by the mere fact

that Artis-Naples is recklessly violating Title VII.

       196. As a further result of Artis-Naples’s wrongful termination of Plaintiffs,

Plaintiffs have suffered and continue to suffer damages, humiliation, embarrassment,

emotional and physical distress, and mental anguish.
                                             45
Case 2:22-cv-00606-JLB-KCD Document 1 Filed 09/21/22 Page 48 of 56 PageID 48




      197. Plaintiffs thus are entitled to all legal and equitable remedies under Title

VII, including compensatory and punitive damages.

                                   COUNT IV
                 VIOLATION OF TITLE VII, 42 U.S.C. § 2000e–3(a)
                     Religious Discrimination – Retaliation

      198. Plaintiffs re-allege and incorporate by reference each allegation set forth

in paragraphs 1–159.

      199. Title VII’s anti-retaliation provision makes it unlawful for an employer to

discriminate against an employee “because he has opposed any practice made an

unlawful employment practice by this subchapter, or because he has made a charge,

testified, assisted, or participated in any manner in an investigation, proceeding, or

hearing under this subchapter.” 42 U.S.C. § 2000e–3(a).

      200. Plaintiffs engaged in protected activities when, among other actions, they

(1) requested a religious accommodation in August 2021 from the Mandate; (2) made

their objections about the Mandate known to Artis-Naples in writing on numerous

occasions; (3) informed Artis-Naples’s CEO Kathleen van Bergen about the illegality

of the Mandate under Fla. Stat. § 381.00317; and (4) requested exemptions to the

Mandate pursuant to Fla. Stat. § 381.00317.

      201. Plaintiffs suffered a materially adverse employment action when Artis-

Naples, among other actions, (1) rejected their accommodation requests; (2) placed

Plaintiffs on involuntary leave with partial pay; (3) reiterated its Mandate by forcing

Plaintiffs to either receive a COVID-19 injection or lose their jobs; and (4) failed to



                                          46
Case 2:22-cv-00606-JLB-KCD Document 1 Filed 09/21/22 Page 49 of 56 PageID 49




renew Plaintiffs’ employment contracts, and terminated Plaintiffs, despite their

working over 82 combined years at Artis-Naples.

        202. The threat of job loss would normally dissuade a reasonable worker from

filing a discrimination complaint, and Plaintiffs’ requested (and rejected)

accommodation and corresponding refusal to receive the injection is causally related

to the adverse employment action.

        203. Further, Plaintiffs had a good faith, reasonable belief that Artis-Naples

was engaging in unlawful employment practices by, among other actions, refusing to

accommodate its employees’ religious observances and practices and intentionally

violating Fla. Stat. § 381.00317. In light of the facts, Plaintiffs’ beliefs were objectively

reasonable. Artis-Naples retaliated against Plaintiffs for objecting to its unlawful

Mandate by placing them on involuntary leave with partial pay and ultimately

terminating their employment.

        204. Artis-Naples’s actions thus constituted unlawful retaliation in violation

of Title VII.

        205. As a result of Artis-Naples’s unlawful retaliation, Plaintiffs have suffered

and continue to suffer harm, including lost earnings, lost benefits, and other financial

loss.

        206. As a result of Artis-Naples’s unlawful COVID-19 vaccination mandate

and retaliation, Plaintiffs have suffered, and continue to suffer, irreparable harm. Given

that their unique positions are once-in-a-lifetime employment opportunities, Plaintiffs

cannot be made whole simply by monetary damages. Instead, reinstatement is
                                             47
Case 2:22-cv-00606-JLB-KCD Document 1 Filed 09/21/22 Page 50 of 56 PageID 50




necessary to fully remedy Plaintiffs for the deprivation of their federally protected

rights. In any event, irreparable harm is presumed by the mere fact that Artis-Naples

is recklessly violating Title VII.

       207. As a further result of Artis-Naples’s unlawful retaliation, Plaintiffs have

suffered and continue to suffer damages, humiliation, embarrassment, emotional and

physical distress, and mental anguish.

       208. Plaintiffs thus are entitled to all legal and equitable remedies available for

Title VII violations, including compensatory and punitive damages.

                                PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs respectfully pray that the Court:

       A.     Declare that Artis-Naples violated Title VII by failing to reasonably

accommodate Plaintiffs’ bona fide religious beliefs;

       B.     Declare that Artis-Naples           violated   Title VII by   intentionally

discriminating against Plaintiffs for their bona fide religious beliefs;

       C.     Declare that Artis-Naples violated Title VII by wrongfully terminating

Plaintiffs for their sincerely held religious objections to Artis-Naples’s COVID-19

vaccination mandate;

       D.     Declare that Artis-Naples violated Title VII by retaliating against

Plaintiffs for engaging in statutorily protected activities;

       E.     Enjoin Artis-Naples from enforcing its discriminatory COVID-19

vaccination mandate, and from otherwise discriminating or retaliating against

Plaintiffs;
                                             48
Case 2:22-cv-00606-JLB-KCD Document 1 Filed 09/21/22 Page 51 of 56 PageID 51




       F.     Order Artis-Naples to reinstate Plaintiffs to their previous positions, with

back pay, and restore Plaintiffs to their original compensation, terms, conditions, and

privileges of employment;

       G.     Award Plaintiffs back pay, front pay and other compensatory damages

that Plaintiffs suffered, including future pecuniary losses, emotional pain, suffering,

inconvenience, mental anguish, loss of enjoyment of life, and nonpecuniary losses;

       H.     Award Plaintiffs actual damages, in an amount to be proven at trial, that

Plaintiffs sustained as a result of Artis-Naples’s discriminatory, unconscionable, and

unlawful COVID-19 vaccination mandate;

       I.     Award punitive damages to Plaintiffs because Artis-Naples recklessly and

maliciously disregarded Plaintiffs’ federally protected rights;

       J.     Award Plaintiffs the reasonable costs and expenses of this action,

including reasonable attorneys’ fees; and

       K.     Grant such other and further relief as the Court deems equitable and just

under the circumstances.

                            DEMAND FOR JURY TRIAL

       Pursuant to Federal Rule of Civil Procedure 38, Plaintiffs demand a jury trial

on all triable issues.




                                            49
Case 2:22-cv-00606-JLB-KCD Document 1 Filed 09/21/22 Page 52 of 56 PageID 52




Dated: September 21, 2022             Respectfully submitted,

                                      /s/ Horatio G. Mihet
                                      Mathew D. Staver
                                      Horatio G. Mihet
                                      Roger K. Gannam
                                      LIBERTY COUNSEL
                                      P.O. Box 540774
                                      Orlando, FL 32854
                                      Tel: (407) 875-1776
                                      Fax: (407) 875-0770
                                      court@lc.org
                                      hmihet@lc.org
                                      rgannam@lc.org

                                      Attorneys for Plaintiffs




                                     50
Case 2:22-cv-00606-JLB-KCD Document 1 Filed 09/21/22 Page 53 of 56 PageID 53




                                  VERIFICATION

      I, Ashley Leigh, am over the age of eighteen and a former employee of Artis-

Naples. I have reviewed the allegations made in this Verified Complaint, and as to

those allegations of which I have personal knowledge or pertain to me, I believe them

to be true. As to those allegations of which I do not have personal knowledge, I rely

on the exhibits and external sources referenced in the complaint, and I believe them to

be true. If called upon to testify to their truthfulness, I would and could do so

competently. I declare under penalty of perjury, under the laws of the United States

and the State of Florida, that the foregoing statements are true and correct to the best

of my knowledge.

 Dated: September 20, 2022
                                   /s/ Ashley R Leigh
                                   Ashley R. Leigh
                                   (original signature     retained   by
                                   Counsel)




                                          51
Case 2:22-cv-00606-JLB-KCD Document 1 Filed 09/21/22 Page 54 of 56 PageID 54




                                  VERIFICATION

      I, Erik Berg, am over the age of eighteen and a former employee of Artis-Naples.

I have reviewed the allegations made in this Verified Complaint, and as to those

allegations of which I have personal knowledge or pertain to me, I believe them to be

true. As to those allegations of which I do not have personal knowledge, I rely on the

exhibits and external sources referenced in the complaint, and I believe them to be

true. If called upon to testify to their truthfulness, I would and could do so

competently. I declare under penalty of perjury, under the laws of the United States

and the State of Florida, that the foregoing statements are true and correct to the best

of my knowledge.

 Dated: September 20, 2022
                                 /s/ Erik R. Berg
                                 Erik R. Berg
                                 (original signature      retained    by
                                 Counsel)




                                          52
Case 2:22-cv-00606-JLB-KCD Document 1 Filed 09/21/22 Page 55 of 56 PageID 55




                                  VERIFICATION

      I, James Griffith, am over the age of eighteen and a former employee of Artis-

Naples. I have reviewed the allegations made in this Verified Complaint, and as to

those allegations of which I have personal knowledge or pertain to me, I believe them

to be true. As to those allegations of which I do not have personal knowledge, I rely

on the exhibits and external sources referenced in the complaint, and I believe them to

be true. If called upon to testify to their truthfulness, I would and could do so

competently. I declare under penalty of perjury, under the laws of the United States

and the State of Florida, that the foregoing statements are true and correct to the best

of my knowledge.

 Dated: September 20, 2022
                                  /s/ James Griffith
                                  James Griffith
                                  (original signature     retained    by
                                  Counsel)




                                          53
Case 2:22-cv-00606-JLB-KCD Document 1 Filed 09/21/22 Page 56 of 56 PageID 56




                                  INDEX OF EXHIBITS

                          Exhibit Name                                    Type         Ex.
Alexis Barkis, Quarles & Brady LLP, Florida Legislation Restricting       Article       1
Workplace Vaccine Mandates—What Florida Employers Need to Know
(Nov. 19, 2021)
Artis-Naples, Musicians COVID-19 Vaccination Requirement and           Memorandum       2
Accommodation Process (2021)
Artis-Naples, COVID-19 Vaccination Religious Accommodation              Document        3
Request (2021)
Ashley Leigh, to Glenn Basham (Sept. 29, 2021, 12:29 PM)                  Email         4
Kathleen van Bergen, CEO, Artis-Naples, to Ashley Leigh (Oct. 5,          Letter        5
2021)
Kathleen van Bergen, CEO, Artis-Naples, to Erik Berg (Oct. 5, 2021)       Letter        6
Kathleen van Bergen, CEO, Artis-Naples, to James Griffith (Oct. 5,        Letter        7
2021)
Artis-Naples, COVID-19 Protocols and Policies Update (Oct. 28, 2021)   Press Release    8
Kathleen van Bergen, CEO, Artis-Naples, to Ashley Leigh (Dec. 1,          Letter        9
2021)

Kathleen van Bergen, CEO, Artis-Naples, to Erik Berg (Dec. 1, 2021)       Letter       10
Kathleen van Bergen, CEO, Artis-Naples, to James Griffith (Dec. 1,        Letter       11
2021)
Kathleen van Bergen, CEO, Artis-Naples, to Ashley Leigh (Apr. 1,          Letter       12
2022)
Kathleen van Bergen, CEO, Artis-Naples, to Erik Berg (Apr. 1, 2022)       Letter       13
Kathleen van Bergen, CEO, Artis-Naples, to James Griffith (Apr. 1,        Letter       14
2022)
James Griffith, Completed Forms, Religious Exemption from                 Forms        15
COVID-19 Vaccination & Exemption from COVID-19 Vaccination
Based On Periodic Testing
Ashley Leigh, Completed Forms, Religious Exemption from COVID-            Forms        16
19 Vaccination & Exemption from COVID-19 Vaccination Based On
Periodic Testing
Erik Berg, Completed Forms, Religious Exemption from COVID-19             Forms        17
Vaccination & Exemption from COVID-19 Vaccination Based On
Periodic Testing
Kathleen van Bergen, CEO, Artis-Naples, to Jim Griffith (Apr. 12,         Email        18
2022, 12:41 PM)
Kathleen van Bergen, CEO, Artis-Naples, to Jim Griffith (Apr. 14,         Email        19
2022, 8:46 AM)
Kathleen van Bergen, CEO, Artis-Naples, to Erik Berg (Apr. 26,            Email        20
2022, 3:52 PM)
Kathleen van Bergen, CEO, Artis-Naples, to Ashley Leigh (Apr. 26,         Email        21
2022, 3:53 PM)




                                               54
